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 1   DAVID J. COHEN, ESQ.
     California Bar No. 145748
 2   CHERIE R. BEASLEY, ESQ.
     California Bar No. 253019
 3   BAY AREA CRIMINAL LAWYERS, PC
 4   300 Montgomery Street, Suite 660
     San Francisco, California 94104
 5   Telephone: (415) 398-3900
     Facsimile: (415) 398-7500
 6
     Attorneys for Defendant Cesar Noe Villa
 7
 8                         UNITED STATES DISTRICT COURT
 9
                          EASTERN DISTRICT OF CALIFORNIA
10
                                  FRESNO DIVISION
11
     UNITED STATES OF AMERICA,      )        Case No. 1:11-CR-00354 LJO
12                                  )
                   Plaintiff,      )
13                                  )
     v.                             )
14                                  )        ORDER on Motion to Continue
15   CESAR VILLA,                    )       Sentencing
                                     )
16                 Defendant.       )        Date: October 28, 2013
                                    )        Time: 8:30 a.m.
17                                  )        Judge: Lawrence J. O’Neill
                                    )
18
19            GOOD CAUSE APPEARING THEREFOR, IT IS HEREBY ORDERED that the
20
     sentencing hearing in this matter, currently scheduled on October
21
     28, 2013, be continued to 8:30 a.m. on January 13, 2014.
22
              IT IS SO ORDERED.IT IS SO ORDERED.
23
24   Dated:     October 8, 2013           /s/ Lawrence J. O'Neill  B9ed48
                                         UNITED STATES DISTRICT JUDGE
25
26
27
     U.S. v. Villa, et. al.;
28   Case No. 1:11-CR-00354 LJO
